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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATE OF AMERICA                           )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )                        Case No. 09-CR-05-JHP
                                                  )
LOUIE MONTOYA,                                    )
                                                  )
               Defendant,                         )


                                    ORDER AND OPINION

        Before the Court is Defendant Louie Montoya’s Motion to Move to Medical Facility [Docket

No. 153]. In the motion, Defendant alleges he suffers from severe type two-diabetes, renal disease

and liver disease. Defendant contends he has not been provided with proper medical care and that

his condition has deteriorated since his incarceration in the Muskogee County Jail. Defendant

requests that he be transferred to a Federal correctional medical facility pending sentencing.

        A hearing was held on the motion March 11, 2009. The Court ordered medial evaluations

and weekly notices be provided the Court until all evaluations were complete. Based upon the

medical records received by the Court, as well as the representations of Defendant, the United States

Marshal and the United States Attorney, which all concur the medical records support such a

transfer, the Court grants Defendant’s motion. The Court commits Defendant to the custody of the

United States Marshal to be transported to a suitable Federal correctional medical facility as

designated by the Bureau of Prisons. Thereafter, upon direction from the Court, the United States

Marshal is directed to transport Defendant back to this Court for sentencing.

               IT IS SO ORDERED this 15th day of May, 2009.
